         Case 1:19-dm-00012-AJT Document 22 Filed 06/14/19 Page 1 of 26 PageID# 1230




                                  IN THE UNI n-:o s I ATES DIS rn.ICT COURT FOR TJ!E
                                          r.t\STERN l)fSTRICT OJ- VIRGINIJ\

                                                       Alexandria Division

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           It\ RI::                                           )
                                                              )
           GRAND JURY C/\SE NO. lO-GJ-37lJ>                   )
                                                              )    C3SC' J'\o. I· 19-DM-�

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                                                              )   I karing: tvla) 16.1019

                                      GOVERNME�T'S UENCH 1\11':MORA�OCM

                      In advance of the upcoming hearing. rh.: Unile<l Stales submits lhi.s mc1:1orandum to

           support its position that the C'otu1 should hold Chcl c:a .\.1an11ing in civil eontempl for refusing to

           comply ,,ith the Court's onh!r to testify in front of the grand jury. As described bc:low, M,11ining

           previously refused to comply w1lh a lawful court ortler issued by Jucgc llillon to tcsti fy in front

           of a ciffcrclll grnm.J jury ir. connc lion with this in, �s1ig:uio11. Jutlgc Hilton found that \.tanning

           did nol hav� ju:.I cause to refuse to 1e:.1ify. held her in civil contempt, nr.d ordered her

           incarceration. The Fourth Circuit uffomcd .l udee Hihon·s handling of the proceedings.

           /\·fanning, ho,,·c\·t:r. We!'- released a!"l.:r 011.ly I\\O months of incarceration bc�ausc the term of the.:

           grand jury c�pin.:<l. /\s ,:\,lanning's tc�timony re:11ains ltigltly rckvant to an ongoing criminal

           11wcsiigatiun. �111.: has been subpoenaed I� another grnnd ju1y. and this Court ha-; ordered her to

           1es1:I�· fully. c1>111plctdy. and lruthfull� in front of the gnmdjury.

                      In <lire: t \'iolation of the (01111s order. Manning ha-; announced thm she will once again

           refuse to .1nswcr questions in front of the grand jury. Thro\lp.h counsel. she has indicated that. at

           lhc upco111i11g hcnri11g, she will orally stipulate that sht: \\Oulu not answer the :,amc questions

           posed to her in the last grant! ju1� . .\lnnni11g did not have just c..iusc to refuse to nnswer the




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Case 1:19-dm-00012-AJT Document 22 Filed 06/14/19 Page 2 of 26 PageID# 1231




  questions then, and she does not havejust cause to refilse to arswer the questions now. The

  Court should therefore hold Marming in civil contempt and order her immediate .incarceration

  until she agrees to comply with its order to testi! or the term ofthe grand jury expires.

                                          BACKGROUND

         A.       Manniug'sCourt-MartielConviclions

         Maaning     is a   fomrer intelligence analyst      in the United       States Army who was

  dishonorably discharged for leaking classified infomration. See Appxrl-5,73.r ln October 2009,

  she deployed    to Forward Operating     Base Hammer        in haq.      See   Appxl34. During her
  deployment, she downloaded hundreds       of   thousands   of   classified documents urd tansmitted

  them to one or more agents of Wikileaks for publication on its website. See Appx35, 255-88.

  The classified documents included, among other things, significant activity reports relaled to the

  ongoing wam in Iraq and Afghanistan, see Appx267-70, Guantanamo Bay detainee assessment

  briefs, see Appx280-82, and United States Departmort              of   State cables, see Appx284-86.

  Manning's disclosure of these documents to Wikileaks remains one of the largest leaks of

  classified information in American history.

         In May 2010, Manning was        arrested for these disclosures. See        Appx35. She       was

  prosecuted   in a military cowt-martial. See Appx4. During her cout-martial proceedings, she

  pleaded guilty to lesser-included offenses    of   some but not   all of the charges agairst her.   See


  Appx7Z,12O. Marming did not have a plea agreement with the prosecution. See Appx250-51.




  I"Appx_" citations are lo the addenda that Maming filed ir the Fourth Circuit. These addenda
  contfi the record ofthe proceedings that occurred before Judge Hilton. The govemment has
  filed the public addendum as Exlibit A and the sealed addendum as Exlibit B.


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Case 1:19-dm-00012-AJT Document 22 Filed 06/14/19 Page 3 of 26 PageID# 1232




          When Manning entered her pleas to the lesser-included offenses, the military judge

  conducted a "providence inquiry" pursuant to the Rules for courts-Martial              .   see Appx72-253. A

  providence inquiry is "a more elaborate relative of the Rule               ll   proceeding under the Federal

  Rules of criminal Procedue" that serves merely to "ensure that a plea is voluntary and that there

  is a factual basis for the plea." Partingron v. HoucN 723 F.3d 280,282-83 (D.C. Cir. 2Ol3).

  Simitar to Rule 11, the Rules for Courts-Martial provide that "[t]he military judge shall not

  accept a plea    of guilty without making such inquiry of the accused as shall satisry the miliury

  judge that there is a factual basis for the     plea" Appx69.

          At her providence inquiry, Manning first read           I   voluntsry statement to provide a factual

  basis for her pleas. See Appx73-119. In this voluntary statement, Manning chose what facts to

  admit in support of her pleas to          tle   lesser-included offenses. See      d    Consistent with that

  purpose, Manning mado various statemonts and admissions about her disclosures of classihed

  information to   Wikilraks.   See   id.   Then, tl\e miliury judge questioned her specifically about the

  factual basis of certain etements to which she was pleading guilty. See Appx12G253. Manni::g

  was not subjected to cross-examination or other questioning by prosecutors. See id-

          After Manning entered her pleas, the military prosecutors elected to go forward with the

  more serious offenses with which she was charged. See Appx253. Manning was ultimarely

  convicted   of   Espionage Act and other offenses related to her unauthorized disclosures.              ,See


  Appx35. In20l3,      she was sentcnced to 35 years         of imprisonrnent. See Appx4. In January 2017,

  the President cotnmuted Maming's sentence so that she would be released in May 2017, after

  serving approximately seven years in prison. See Appx5, 35.




                                                         3
Case 1:19-dm-00012-AJT Document 22 Filed 06/14/19 Page 4 of 26 PageID# 1233




            B.          f int Greld-Jury $ubpoene

            In January 2019, Manning was scrved through counscl with a subpoena to testiff on

  Februar,v 5 bcforc Grand Jury I 84 empanclod in thc Fzstern District of         Virginia. Judge Hilton

  cntercd atr order directing Manning to testiry in     tontofthe   grand   jury aad, along with a gcneral

  court-martial convcning authority ofthe Depanment of the Army, granrcd hcr full use and

  derivative use imnunity. See Appx60-53. At the request of Manning's cor.rosel, tre origfuBl

  appeamnce date was moved back approximately one            mootHo     March 5,2019.

            On March       l, Muning filed a motion   to quash tlle subpocna   &e Appx4-33. In lhc

  molion to quadr, shc aryu€d that thc anticipated qucstioning would violarc her Fifth Amendment

  and First Amendrnent rights, thal thc subpoena was isstxd for improper purposes, and that undcr

  I   8 U.S.C. $   3   504 the government should afErm or deny whcther she was the subject of ruda$'ful

  electronic survcillsnce.2 Sbe Appxl0-27. Manning also sought production of@rtain Srand jury

  ma(erials (so-callcd "ministerial documents') and hcr prior statemenB, and requesled that Judge

  Hilton charge the grand jury with spccilic instnrctioas. See Appx28-31 . After fte govedune{rl

  responded, see Appx34-58, Judge Hilton held a hearing on March 5 and denied the motion io its

  cntirety, sre Appx3l8-20. Mmning's grand-jury appcarancc was scheduled for the ncxt day.




  2
    Manning claimed lo have based her suspicion ofelcctronic survcillancc on the govenunent's
  suggestion to her attomcy that it had evidencc of stalements shc made that were inconsistent with
  the statements shc madc at the providencc inquiry at her court-maflial. Rcgardless ofwhetha
  the govcmment had any obligation to clari$ this disctssiorl it ncvertlpless has idormed her
  attomeys that tbc inconsistcncy was based not on elcctronic surveillancc, but instead on
  statements that Manni.ug madc in lntemct chats to an associate who, in 2010, tumed thcm overlo
  the FBI (and thc media).

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Case 1:19-dm-00012-AJT Document 22 Filed 06/14/19 Page 5 of 26 PageID# 1234




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Case 1:19-dm-00012-AJT Document 22 Filed 06/14/19 Page 6 of 26 PageID# 1235




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Case 1:19-dm-00012-AJT Document 22 Filed 06/14/19 Page 7 of 26 PageID# 1236




        D.    Civil-ContcmptFioding

        Judgc Hilton conductcd the show-causc hcaring on March   8




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Case 1:19-dm-00012-AJT Document 22 Filed 06/14/19 Page 8 of 26 PageID# 1237




                 Judge Hilton then opcned the courlroorn.       lee Appx322. Affer the courtoom was

  opened, Judge Hilton allowed the parties additioual timc to arguc the propcr cocrcivc sanction.

  See Appx322-27.       At the conclusion, Judge Hilton reitcratcd his fiding that MsDning was "in

  conrcmpt of [his] order rcquiring [her] to tcstiS bcforc thc grald      jvry." l9px12?.    Judge   Hilon

  ordered tliat she "be mmmincd to thc custody of thc Attomcy Gcncral until such timc as [shc]

  eithcr purgc[sJ [hcrsclf] ofthe cont€rnpt or for thc lifc of O[c] grand jrury;' Id.

            E.      Meulng'r Appcel
            Approximatcly one weck latcr, Manning flled a noticc of      appal.   See   Appx330. She

  raiscd lhree issues on appeal.r First, she claimed that Judgc Hilton cred io delying her motion

  to require lhe govcrluDent to affirm or dcny that shc was subjcctcd to clcctsonic suweillancc.

  .9ee   Ex. C,at t I-19; Ex. D, at 20-35; Ex. E, at 5-12. Second, she asscrlcd that Judge Hilton erred

  in holding that shc failcd to demonstate any grand-jury abuse.        &aEx.C,at19-26; Ex.D,at35'

  43; Ex. E, at   l2-15. Third,   she claimed lhat Judgc   Hilton cncd in closing portions of tlrc

  I The govemment hEs attached Maruing's sealed merits brief on appcal as Exhibit C, tle
  govcmment's sealcd rcsponsc brief as Exhibit D, ud Manning's reply brief as Exhibit E.


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Case 1:19-dm-00012-AJT Document 22 Filed 06/14/19 Page 9 of 26 PageID# 1238




  contempt proceediags. See Ex. C,             x   26-32; Ex. D, at 43-54; Ex. E, at l5-20. On April    l,
  MaDning also flled a motion for release pending appcal, pursuant to 28 U.S.C. g 1826(b).4 S€e

  Ex. F; Ex. G.

            On April 22, the Fourth Circuit affrmed Judge Hilton's contempt order in its entirety.

  See Ex.   H. l'he Fourth Circuit succinctly          stated that it found "no error in the district coud's

  n:lings." Id" at2. ln      rhe saote order, the Fourth Circuit {enied Manning's motion for release

  pending appeal.     .See   id

            F.      Second Grand-Jury Subpoene

           The term ofGrand Jury l8-4 expired on             May9,2019. Pursuant to the terms ofJudge

  Hilton's contempt order, Maruring was released from incarceration on that date. Threc days

  before that date, however, Manning filed a Motion for Release, arguing that her continued

  incarceration no longer served a coercive purpose because she would never comply with Judge

  Hilton's order. See Ex.         I.   Her release on May 9 rendcred tlat motion mool

            Meanwhile, on May 8,2019, Manning was served through co""sel.with a subpoena to

  appear before another grand           jury empaneled in the Eastem District of Virginia--Grand Jury 19-

  3.   See Ex.   J. The retum date of the subpoena was May 14,2019.              ,See   id. At ManninS's   rcquest'


  the government agre€d to postpone her appeamnce to May 16 to facilitate a medical

  appointment.

            In connection with this subpoena, Manning has again received full use and derivative use

  immwrity that covers her testimony. The Coud entered a compulsion order on May 6, 2019,

  directing that Manning "testify fully, crmpletely and truthfi:lly" before the grand jury and

  a
      1-he government has attached Manning's motion as            Exhibit F and its sealed response   as   Exhibit
  G


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Case 1:19-dm-00012-AJT Document 22 Filed 06/14/19 Page 10 of 26 PageID# 1239




   granting her use and derivative use immurrity. See Ex.              K.   Likewise, a general courl-martial

   convening authority again entered an order that provided Marning wilh use and derivalive use

  immunity in connection with her testimony.           ,Se€   Ex. L.

           Nevertheless, Manning's attorneys have informed the govemment that she                     will continue

   to refuse to answer the same questions posed lo her in lhe prior grand                jury. Accordingly,   the

  govemment 8nd Manning's attomeys have rcached an agreement to save time and avoid an

  unnecessary disn:ption         ofthe grand j ury's service. At the upcomiag hearing, the parties will

  orally stipulate that the government would ask, and Manning would refirse to answer, the same

  questions posed to her in h€r last grand-jury appearance.

           At the headng, the Court should question Maruring directly to confirm whether she still

  refuses to testifu and answer the same questions posed in her last grand-jury appearaDce.

  Assuming Manning remains recalcitant, the govenment will move for the Court to hold her in

  civil contempt. For the reasons explahed below, the Coufi should grant that motion, hold

  Manning in civil contempt, and order her immediate incatceration.

                                                  DISCUSSION

           It is a be&ock principle that the grand jury is entitled to every person's evidence. See
   'Branzburg
                 v. Hoyes, 408 U.S. 665, 688 (1972); In re Grand Jury Subpoena' 646 F.3d 159, 164

  (4th   Ct.   201   l). "[]he   grandjury's authority to subpoena witnesses is not only histodc, but

  essential to its task." Braruburg, 408 U.S. at 688. And "[t]he duty to testifu has long been

  recogrrized as a basic obligaion that every citizen owes             fter] Governmenl" United         States v.

  Calandra,4l4U.S. 338, 345 (1974). Every person called                     as   a'\uitness is bound not only to

  attend but to tell what [s]he knows in answer to questions Aamed for the purpose ofbringing out

  the truth    ofthe matter under inquiry;' Blair v. Unlted States,Zil U.5.273,282 (1919).

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Case 1:19-dm-00012-AJT Document 22 Filed 06/14/19 Page 11 of 26 PageID# 1240




              Where, as here, a person refuses 10 comply with a grand-jury subpoen4 the Court has the

   inherent autrority to enforce the sufuoena tfuough its civil-conrempt powe rc. see shillitani                     v.


   United States,384 U.S. 364, 370 (1966); In re Grand Jury Investigation John Doe, 542 F. Supp,

   2d 467, 468 (E.D. Va. 2008). Its inhercnt authority is supplemented by the reca.lcitant witness

   statute.    ,See   Grand Jury lwestigation John Doe,542 F. Supp.2dar469. Thar stature states, in

   relevant part, as follows:

              Whenever a witness in any proceeding before or ancillary to any. . . grand jury of
              the United States refises without just cause shown to comply with an order of tle
              court to testiry . . . the court, upon such refisal, or when such refirsal is duly
              brought to its attention, may summarily order his confinernent at a suitabl€ plac€
              until such time as the witress is willing to give such testimony . . . ,

   28 U.S.C. $ 1826(a). As the statute reflects, a witness may defend against a contempt finding by

   showing she had        "jxt   cause" in refi.tsing to   testify.   See   In re Askin, 47 F.3d 100, 102 (4th Cir.

   1995).

              If the Court finds the witness in civil contempt, it may impose               a sanstion tailored to


   coerce the witness to      testiry-nol    a sanction designed        topuzrs, the witness for refrrsing to

   testift.   See Grand Jury      lwestigation John Doe, 542 F. Supp.             2d'   at 46849- The idea behind a

   sanction for civil contempt is that the contemnor holds the keys to the jailhouse door. See

   Gompers v. Buck's Stove & Range             Co.,22l U.S.418,442            (l9ll).    She must be able to "end the


   sentence and discharge [herself] at any moment by doing what [s]he ha[s] prcviously rcfused to

   do."   /d   Thus, "the j ustification for coercive imprisonment as applied to civil contempt depends

   upon the ability of the contemnor to comply with the cowt's order." Shillitani,384 U.S. at 371.

              The recalcitrant witness statute, moreover, limits how long a person caa be confined for

   civil contempt. Under the stahrte, the "p€riod of . . . confinement" camot "exceed the Iife



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Case 1:19-dm-00012-AJT Document 22 Filed 06/14/19 Page 12 of 26 PageID# 1241




   of...   the term ofth€ grand jury, including extensions." g 1826(a)(2). And,.in no event shall

   such con-finement exceed eighteen months."         Id
           A.      The Courl Should Close the Courtroon During the Portions ofthe
                   Proceeding in Which Matters Occurring Before the Grend Jury Are
                   Discussed.

           At the upcoming hearing, the govemment requests that the Court close the portions ofthe

   hearing that address matters occurring before the grand      jury. Rule 6(e)(5)    govems when a

   district court should close the courtoom to protect grand-jr:ry secrecy.        ,See   Fed. R. Crim. P.

   6(e)(5). The nrle states, 'subject to any right to an open hearing in a contempt proceeding, the

   court must close any heariDg to the extent necessary to prevent disclosure of a matter occurrhg

   before the grand   jvy." Id. Under this rule, "hearings wldch would reveal matters which have.
   previously occuned before a grand jury or are likely to occur before a grand jury with respect to

   a pending or ongoing investigation must be conducted        i[   camera in whole or in part . . . to

   prevent public disclosure    of.   . . secret information." .Id advisory committee's notes to 1983

   amendments.

           In.Levine v. United States,362 U.S. 610 (1960), the Supreme Court addressed the extent

   to which a trial court may close the courtroom to protect gand-jury secrecy. In that case, the

   defendant was charged with criminal contempt. See id. at 611, His "contemptuous conduct, the

   adjudication ofguilt, and the imposition of sentence all took place afler the public had been

   excluded from the      courtoom." 1/. The Court recognized that due process generally entitles            a

   contemaor to a public proceeding but clarified that its application "must tum on the particular

   circumstances of the case." Id- at6l6-17.

           Tl:.e Levine   Cou   specifically recognized that the right to a public prcceeding must be

   balanced with the need for gxand-jury secrecy. The Court repeatedly emphasized that a trial

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Case 1:19-dm-00012-AJT Document 22 Filed 06/14/19 Page 13 of 26 PageID# 1242




   court may close a portion of the contempt hearing when the questions posed in the $and jury are

   being discussed. See id.   at614-15,617-lt. As the Court reasoned, "[u]nlike                an ordinary judicial

   inquiry, where publicity is the rule, grand jury proceedings arc secret."         Id   at   617. The Court

   firther explained that, after the grand-jury questions are discussed, there is "no further cause for

   enforcing secrecy in the sense of excluding the geneml public" and the courtroom should be

   opened. Id. at 618.

            While the Zevine Court ultimately disposed of the case on the ground that the defendant

  had forfeited the issue by not raising it below, see       id al 619-20, its rcasoning still      provides the

  framework that governs contempl proc€edirgs today, see Fed. R. Crim. P. 6(eX5) advisory

  committee's notes to 1983 amendments (citing Zevrne for the proposition that there is no

  constitutional requirement that "the entire contempt proc€edings, including recitation of the

  substance of the questions [the contemnor] has refused to answer, be            public').     Since Levine,

  courts have adopted its bifircated approach in addressing when contempt proceedings,                    civil or

  criminal, should be open lo the public   .   See, e.g.,   In re Grand Jury Subpoena,9T F.3d 1090,

   1094-95 (Eth Ctu. 1996); In re Grand Jury Matter, 906          F   .2d 78, E5-87 (3d Citr.1990); In re

  Rosahn,6Tl F.2d 690, 69'l Qd Cn. 1982). Under this approach, the Court may close the

  courtoom when matters occurring before the grand jury are d.iscussed, but it musl open the

  courtoom, "upon the contemnor's request, [for] the 'final stage' of [the] c6ntempt proceedings.'

   united stotes v. smith, 123 F.3d 140, 149n.13(3dCir. 1997).

            Consistent with this approach, the Cout should close the upcoming hearing when the

  questions and answers that occurred before the grand          jury   (and that Manning is stipulating she

  will   refi:se to answer here) are recited or discussed. Such topics are quintessential 'lnatters

  occurring before the grard jury" that should be kept secret. .t?e Fed. R.          Cin.      P.   6(e); United

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Case 1:19-dm-00012-AJT Document 22 Filed 06/14/19 Page 14 of 26 PageID# 1243




   States v. Index Newspapers LLC,766 F.3d 1072, 1085 (gth Cir. 2014) (.Ru.le 6(e) secrecy

   extends beyond grand jury traascripts and includes summaries and discussions of grand                  jury

   proceedings,"); -In re Motions of Dow Jones & Co., 142 F.3d 496,501 (D.C. Cir. I 998) (.'The

   wilness's identity, the fact that [s]he was subpoenaed to testifi, the fact that [sJhe invoked the

   privilege in response to questions, the nature of the questions asked-all these would

   be . , . 'matters occurring before the gand       jwy."').   To protect these grand-jury matters, the

   Court should start the proceedings       h   a closcd session   to addrcss   (l)   the stipulation that Maruring

   would refuse to answer the same questions that were posed to her in the prior grand               jrry,   and

   (2) whether just cause exists for her refusal to testifu. After addressing those matters, the Court

   should then open the courtroom     (l)   to announce its finding of whether Manning is in contempl,

   and (2) to hear argrunent about and impose the appropriate cocrcive sanction.

          This recomm€ndation is consistent with the approach that Judge Hilton followed in the

  prior proceedings. See supra pp.7-E. On appea.l, Manning specificalty challenged Judge

   Hilton's closure of the coufiroom, and the parties extensively briefed the issue. See Ex. C, at 26'

   32; Ex. D, at 43-54; Ex. E, at   l5-20. Consistent with         the above-described law, the Eourth Circuit

   affirmed Judge Hilton's handling of the proceedings. See Ex. H, at 2. The Coud should follow

  the same approach herc.

          B.      The Court Should Hold Manning in Civil Contempt Because She Hes No
                  Just Cause for Refusing to Testify.

          Manning's lack ofjust cause for rcfi$ing to answer the questions in front of the grand

  jury has alrcady been established. As noted, Manning's attomeys have r€presented that she will

   refuse to answer the same questions lhat were posed to her in her prior grand-jury appearance.                  ln

   connection with that appearance, the parties extensively litigated whetlrer she had sufficient



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Case 1:19-dm-00012-AJT Document 22 Filed 06/14/19 Page 15 of 26 PageID# 1244




   cause to refuse to comply with the subpoena and answer the questiors. Specifically, Judge

   Hilton rejected the following arguments that Manning raised: (l) that the grand-jury subpoena

   violaled Manning's Fifih Amendment rights; (2) that the grand-jury subpoena violated the First

   Amendment; (3) that the grand-jury subpoena was issued based on improper motives; (4) that the

   specific questions posed in the gand jury were improper; and (5) that the govemment should

   have to   aflirm or deny any electronic surveillance.          See   supra pp.4, 7-9. Manning appealed

   Judge Hilton's contempt order to the Fourth Circuit, specifically raising the arguments that the

   questions were improper and the electronic-surveillance issue. See                apra   pp. 8-9. The Fourth

   Ctcuit afirmed.      See supra     p.9.   Accordingly, the Court should not entertain any attempt to

   relirigate those issues.

             One recent development merits addressing, however. Since the last contempt proceeding,

  the govemment has arrested and unsealed an indictment against Julian Assange. The indictnent

  charges Assange with a single count ofconspLacy to commit computer intrusion, in violation                      of

   18U.S.C. $$ 371 and 1030. SeeEx.M. The charge is premised on a specific agreement that

   Assange and Manning reached in 2010 to qack the password to Deparhlent of Defense

   computers coDnected to the Secret Intemet Protocol Network, a United States govemment

   network used for classified documents and communications. See id. lJ7. On April 11,2019,

  Assange was anested         il   the United Kingdom in connection with the indictment. See Motion to

   Unseal, IJnited States v. Julian Paul Assange,No. I : l8-CR-l             1   l-CMH @.D. Va. Apr. 11, 2019)

   (Dkt. No.   l7).   Assange is curently detained      il   the United    Kingdor;    and news reports indicate

  that he   will fight his extradition to the United    States.5



   5
    .See, e.g, William Booth & Karla Adam, Wikileaks Founder Julion Assange Begins Long
   Court Battle Against Extradition, Washington Post (May 2,2019), available at

                                                             l5
Case 1:19-dm-00012-AJT Document 22 Filed 06/14/19 Page 16 of 26 PageID# 1245




           This indictnent against Assange does not affect Manning's obligation to appear rnd

   testify before the grand    jury.   Under the law, the goverrunent 'taDnot use grandjury proceedi-ngs

   for the 'sole or dominant purpose' ofpreparing for trial on an already pending indictrnent."

   United States v. Alvarado,840 F.3d I E4, lE9 (4th Cn. 2016) (quoting United States v. Moss,756

   F.2d329,332 (4th Cir. l9E5)). Yetit is equally well settled that, even after retuming an

   indictrnent, the grand jury may continue investigating new charges or targets that are related to

   the pending indicunent, See         id at I89-90; Uniled States        v. Bros.   Co$t/.   Co. of   Ohio,2l9 F.3d

   300, 314 (4th Cir. 20OO); Moss,7 56         F   .2d at 332.   At the   same time   it files this memorandum, the

   govenunent is filing an ex parte pleading that describes the nahue of the grandjury's ongoing

   investigation in this matter.     .Se€   Gov't's Ex Parte Submission Regarding Natue of Grand-Jury

   Investigation (May 14,2019). As that filing reflects, Manning has testimony that is directly

   relevant and important to an ongoing investigation into charges or targets that arc not included in

   the pending   hdictnerll.   See   id.    Thus, the recently unsealed indictrnenl against Assaoge does not

   provide Marmirg with just cause for refirsing to comply with the Court's order to testi& in front

   ofthe grand jury.

          C.       The Court Should Order that Marning Be Incarcerated Until She Purges
                   Herself of IIer Contempt or for the Lifc of tbe Grand Jury.

          In liglrt of Manning's continued recalcikancg the Court should older her returned to

   incarceration at the Alexandria Detention Center ("ADC") until she purges herself ofher



   https://wM .washingtonpost.com/world./wikileals-founder-julian-assange-begirsJong-drawn-
   ou1-court-battle-against-extradition/20I9l05/02/6f865008-6c55- I I e9-bbe7-
   t c798fu80536_story.htnl?utrn_term=.621806246e31 (last visited May 13, 2019); Sasha Ingber,
   Julian Assange yows lo Fight Extadition to lhe United Stales,NPR $4ay 2,2019), ovailable at
   h@s://www.npr.oryl20l9l05l02l71943 5175/julian-assange-vows-to-fight-extradition-to-the-
   united-states flast visited May 13,2019).


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Case 1:19-dm-00012-AJT Document 22 Filed 06/14/19 Page 17 of 26 PageID# 1246




   contempt or the term of the grand jury expires. Prior to her confinement on th€ original

   contempt ord€r, the govemment went to considerable lengt}s to ensure that the ADC would be                          a

   suitable place of confinement.         See   supra p. E; Ex. N (declaration fiom Chief Deputy Joseph

   Pankey, who oversees the ADC, providing factual basis for why the ADC is a zuitable place                      of
   confilement for Manning). There is no reason to think that the ADC will not continue to serve

   as such.


             Maruring has sugg€sted that she should not be confined because further incarcrcration                will

   not serve any coercive purpose. knmediately before her release, she filed a motion arguing that

   continued incarceration would not serve a coercive purpose because she will never testiry in

   front of the grand jury. See Ex.      I.    In an accompanying declaration, Mannir:g proclaimed

   "without any hesitation . . . that nothing . . . will convince [her] to testifi before

   . . . any . . .   grandjury."   See Ex. O,   { 6.   She claims that her refusal is based on a principled


   stand against the grand-jury system. See            id   .   Based on her "study   ofhistory and philosophical

   principles,"      id lf7, Manning   asserts that grand juries "are simply outdated tools used by the

   federal govemment to hamss and disrupt political opponents and activists in fishing

   expeditions," rd. '116. Likewise,      ir   a recent video she posted on YouTube and statements that she


   has posted on Twitter, Manning has stated lhal her refusal to               testifi   is based on he! opposition to

   the grand-jury system.6


   6
    See Chels€a Manning's Statement on Release from Jail and Second Grand Jury Subpoena,
   YouTube (May 10, 2019) ('As a general principle, I object to grandjuries. Prosecutors mn grand
  juries behind closed doors and in secre! without ajudge present. Therefore, I declined to answer
   any questiors. Based on my refirsal to answer questions, District Court Judge Hilton ordered me
   held in contempt until the grand jruy eaded,."), available ar https://www.youtube.com/
   watch?v:TDZGRRk4MnM (last visited May 13, 2019); Chelsea E. Maruring (@xychelsea),
  Twitter Qv1ar. 8, 2019, l0:5E AM) ("I will not comply with this, or any other grand jury.
  Imprisoning me for my refusal to answer questions only subjects me to additional punishment for

                                                                  17
Case 1:19-dm-00012-AJT Document 22 Filed 06/14/19 Page 18 of 26 PageID# 1247




           In arguing that she should be not incarcerated firther, Manning relies on Simkin v. tJnited

   States,TlS F.2d34 Qd Cir. 1983), and its proSeny. In Simhz, the Second Circuit recognized

   thar district courts have "broad discretion . . . to determine that a civil conlempt sanction has lost

   its coercive   efed   upon a padicular contemnor at some point short of [the] eighteen months"

   prescribed in $ 1826(a).    Id   at   37   .   The Second Circuit held that, when a contemnor who is

   incarcerated for civil contempt move's for early release,            tle district court must "determine

   whether there remains a realistic possibility that continued confinement might cause the

  contemnor to testiry."     Id.   The disAict court must make this determination based on "a

  conscientious consideration of tlre circumstances pertinent to the individual conterrnor."                  Id

          Under,Sjm,hz, the contemnor carries the heavy burden of demonstating that there is no

  "realistic possibility" that continued incarceration will cause her to testifr, 1d. The district court

  "need not . . . accept as conclusive a cont€rnnor's avowed intention never to testiry."              /d     And

   "[e]ven if the [district court] concludes that it is the contemnor's present intention never to

  tesliry, that conclusion does not preclude the possibility that continued confinement will cause

  the witness to change [her]      mind." ,Id "As long          as the judge is satisfied that the coercive


   sanction might yet produce its intended result,            tle confinement may continue."     -Id


          There are important reasons for why courts should proceed cautiously in conducting this

   inquiry. First, the determination is io}erently speculative. As the Seventh Circuit has

   questioned, "[g]iven that the dis&ict           coui   operates without [rhe] benefit of a crystal ball, how is



  my repeatedly-stated ethical objections to the grand jury system. . . . I will not participate in a
  secret process that I morally object to, particularly one that has been historically used to entrap
  and persecute activists for politically protected speech ,"), available at h@s://twitter.com/
  xychelsea?ref_src:twsrc%5Egoogle'/oTCtwcampYolEserp%TCtwgrolo5Eauthor               (last visited May
  13,2019).


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Case 1:19-dm-00012-AJT Document 22 Filed 06/14/19 Page 19 of 26 PageID# 1248




   the court to determine whelher a recalcitrant witness       will or will not       cave into the coercive

   pressure of a     civil contempt order?" United   States v. Jones, 880 F.2d 987, 989 (7lh         Cir. 1989).

   "All recalcitrant witness[es] vehemently insist they will        never   talk. Trying to differentiate

   among them is a line of inquiry which is speculative at best and time-consuming and pointless at

   worst." Id

             Second, the approach threatens to rcward and incentivize recalcitant behavior. It fosters

   a situation in    which'the more disrcspect the witness shows for         a grand    jury and for the Court,

   and the geater the showing       ofa refusal to obey   the Court, even in the face       ofa possible lengthy

   confirement, the more likely the witness is to be relased." In re Grand Jury Proceedings,994

   F. Supp. 2d 510, 515 (S.D.N.Y. 2014) (quoting /lr re Clay,No.            M'l   I   -188, 1985 WL 1977,      at'3

   (S.D.N.Y. June 27, 1985)). An overly liberal application of the,Sizrhn standard only magnifies

   these dangers.

             while   a number   of other circuis have applied srrrtin,T the Fourth circuit bas addressed it

   only in a nonprecedential, unpublished decision in 1986. See United States v. Whitehorn,No.

   86-5574,1986 WL 16245 (4th Cir. Dec. 12, 1986).             h   lyhitehorn, a district court found a

   witness in contempt aad ordered her confinement after she refused to provide a handwritinB

   sample, as ordercd by the court. See id. at r     l   "Several months later, [the witness] filed a

   motion to 'rescind' her corunitment for contempt."          Id   The district court denied the motion,

   See id.




   1
       See In re Grand Jury Proceedings of the Special Apr. 2002 Grand
                                                                   Jury,347 F.3d 197,206-07
   (7th Cir. 2003);1n re Grand Jury Proceeding,l3 F,3d 459,463 (lst Cir. 1994);1n re Grand Jury
   Proceedings, STT F.2d 849,850 (1 I th Cir. 1989).


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Case 1:19-dm-00012-AJT Document 22 Filed 06/14/19 Page 20 of 26 PageID# 1249




           The Fourth Circuit affirmed the diskict court's denial of the motion. Citing Srntrn, the

   Foudh Circuit stated that a "diskict court has broad discrrtion as to whether         a    civil contempt

   sanction has lost its coelcive effoct."   /d. But it concluded     that ' nothing in the

   record . , . show[ed] that the civil contempt ha[d] lost its coercive impact aad thereby become

  punitive."   Id   It discounted the witress's statement that she would 'never comply with the

  otder," notinB that a "prcsent intention never to cooperat€ does not preclude the possibility that

  continued confnement      will   cause [the witness] to change her     mind." .Id. The Fouth Circuit

  further recognized that it "would undermine the authority ofthe district courts to coerc€ litigants

  through the use of contempt if it required release of every contemnor who boldly asserts her

  refusat to comply with an order of the court."     Id

          Likewise, here, there is reason to believe that continued incarceration might have its

  intended effect. Most importantly, Manning has not been incarcerated for a suficient period to

  pressue her into complying wirh the orders to      testiff'   Prior to her release on May 9, Manning

   was incarcerated for only two months.      Couts have afffmed denials of motions to Ielease when

  the contemnors had been held for much longer thal two months. See, e.g.,Inre Grand Jury

  Proceedings,No. 94-1704,1994 WL 390139, at              '3 (lst   Cir. July 22, 194) (affirming denial       of

  motion for release when the contemnor had been confined for seven months and noting that

  "other courts have upheld similar orders after even lengthier periods of imprisoffrcnl'); Grand

  Jury Proceedings. 877 F.2d at 850 (affirming denial of molion for release when the contemnor

   had been confined for more than four months); In re Crededio,759 F.2d 589, 590-93 (7th                Cir'

   l9S5) (afffming denial ofmotion for release even though the contemnor had been confined for

   almost ten months). In this context, two months of incarc€ration is "far less than anything




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Case 1:19-dm-00012-AJT Document 22 Filed 06/14/19 Page 21 of 26 PageID# 1250




   that...mightberegadedas'punitive."'InreMartin-Trigona,590F.Supp.87,90-91                         (D.

   Conn. 1984) (quotllng In re Grand Jury Investigation, 600 F.2d,420 Qd Cv. 1979)).

           In addition, the coercive impact of Maru ng's two-month confinement was sigtificantly

   reduced. For more than half of ttre time of her confmement, Manning's appeal was pending in

   the Founh    Circuit. During that time, Manning had the hope that she would prwail in her appeal

   and thereby be released from confinemenl That potential for release reduced the coercive

   pressures   ofher confnement.   See Commodity Furures     Trading Comrn'n v. Armstrong, 284 F.3d

   404,406 (2d Cir.2002) ("[W]e agree with the district cout that the coercive effect        of

   Amrstrong's incarceration has likely been afienuated somewhat by the pendency of his various

   appeals atrd petitions for extraordinary   rclief."). Then, after Manning's appeal was denie{       she


   was incarcerated for less than three weeks before the term of the grand   jury expked.     See id.


   (recognizing that "the coercive effecl of the initial contempt order decreased   as the   expiration

   date drew near').

          The Coun should require Manning to serve a lengthier, more coercive period          of

   incanceration to encourage her to comply with its order. As the Third Circuit has recognized,

   *incarceration of intrarsigent witnesscs for civil contempt is premised on the notion      tut   tlte

   deste for freedom, and concomiuntly the willingness to testiry, increases with the time spent in

   pison}'     Grand Jury lrNestigation,600 F.2d at 428.   "plven ifthe   cont€mnor actually believes

   [s]he is unbending, the Court may nevertheless conclude that the passage of further time may yet

   change the contemnor's    mind." United Slates v. 9alerno,632F. Supp. 529,53I (S.D.N.Y.

   1986). Given the relatively shon period ofconfinement that Manning has served and the

   reduced coercive effect ofthat coninement, there is still reason to believe that incarceration

   might cause her to comply with the Court's order.

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Case 1:19-dm-00012-AJT Document 22 Filed 06/14/19 Page 22 of 26 PageID# 1251




            The Court should give little credence to Manning's claims that she intends never to

   comply with the grand-jury process. See Grand Jwy Proceedings, STT F.2d at 850 (.The nial

  judge need not accept a contemnor's avowal not to       testi!   but must consider whether the

   circumstances reflect there is no possibility the contemnor     will testi&."); Whitehom,l9E6 WL

   16245, at*2 (nolagthat a "present intention never to cooperats does nol preclude the possibility

   that continued confinement   will   cause [the witness] to change her   mind").   Such self-serving

   statements-8nd those of her friends and family-are insufficient to demonstrate that there is no

  realistic possibility that continued incarceration will csuse her to tesfiry.

            The Court should be particularly skeptical of these staterneal5 Ssc6uss l4anning's stated

  reasons for refusing to testiS are "inconsistent and lack   credibility." Crededio,759 F,2d al593.

   Specifically, Maming's stand against grand juries os a "comrpt and abusive tool" is

  uapersuasive. Ex. O,    { 6. As the Court is well aware,   the grand-jury system safeguards

  individual liberty. See {Jnited States v. Calandra,4l4U.S.338,343 (1974). By requiring the

  Executive Branch to convince a group ofordinary citizens that the evidence wanants bringing

  criminal charges against someone, the grand-jury system "serve[s] as        a   kind of buffer or referee

  between the Govemment and the pe ople," Uniled Slates v. Williams,s04 U.S. 36, 47 (1992), and

  provides an added layer of"protection. . . against unfounded criminal prosecutions,"s Cslondro,

  414 U.S. at 343. That is why the Bill of Rights specifically enshrines the gand-jury system as

  an individual   right. &e U.S. Const. amend. V. The altemative approach would give the

  governfiien.t ,rors power to bring criminal charges against its citizens. Given Manning's


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        secrecy of gand juries serves similar laudable purposes. Among other things, it,,assure[s]
  that persons who are accused but exonerated by the grand jury will not be held up to public
  ridicule." Douglas Oil Co. of Cahf. v. Petrol Srops Nw.,44l U.S.21t,Zl9 (1979).


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Case 1:19-dm-00012-AJT Document 22 Filed 06/14/19 Page 23 of 26 PageID# 1252




  concerns about govcmmenaal overrcach, it is unlikely that shc actually opposes thc grand-jury

  sysrcm but instesd is rcfusing to tcslify out of sclf-intcrest.




          As Manning continucs to bc iocuceratcd and the costs of such incarccration increase, shc

  might realizc that it is in hcr sclf-intcrest to tcstify in ftont ofthe grand jury, paticularly sincc

  shc has usc and derivativc usc         immuity.        See   Salemo, 632 F. Supp. at      53   I Ctonthucd

  confinanent---or its prospcct-in my judgrnent may wcll Pcrsuadc [the witsrcss] !o rccxsmine

  whether rcfirsd to      tcsift still   scrrrcs his   intc!€sls."). In fact, her rcccnl dcclaration demonstsates

  that thc coss of incarceration had staaed ro weigh on her prior                 o    her rclersc. See Ex. O,    t   15.


  Among othcr things, she claimed that her "business now falters, without [hcr] ablc to appcar at

  spcaking cngagcmcnb or profcssional consultations."                     /d tl 17.   She asscrtcd that "[n]umerous


  existing contracts rcmain vulnerable, likely necding renegotiation or outriglrt caoccllation."                      /d
                              i'missed
  She lamented that slre                  the premicr errcnt of a documcntary about [hcr] commutation in

  whicb dozcns of [hcr]       iicn&      rcunitcd afletward."        /d   And she claimcd that lhc circumstanccs

  ofprison makes "visit"tion uncomfortablg surrca!, and saddening." /d                       f   18. Manning statcd

  that the "impact on      firrl fricn&     and supporters fecls ovcrwhclming and makcs [hcr]              ftcl

  loncly." /d   I   19.

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Case 1:19-dm-00012-AJT Document 22 Filed 06/14/19 Page 24 of 26 PageID# 1253




             As her time in incarceration continues, these costs will mount and Murning will have

   more of an incentive to take advantage ofthe keys that she holds to herjailhouse door, Seelnre

   Federal Grand Jury Feb. 1987 Tern, 677 F. Supp. 26,28            Q. Me.   1988) (denying motion   for

   release and recognizing that    "[{lor each day that [the witness] refuses to testiS, he extends his

   prison term and delays his reunion with his family, which he asserts to be of great impofiance to

   him."). There rcmains      a realistic possibility that continued incarceration, and the mounting costs


   that come with it,    will "eventually induce   a change of   heai." Grand Jtt'y Proceeding l3    F.3d at

   463.

            The govemment has repeatedly stated that it does not wish to incarcerate Manning, and

   that remains true. Like any otha citizerL however, Manning must comply with the Court's

   lawftrl order to testif, in front of the grand jury. Above all else, the government hoPes that she

   will   change her   mind. In the meantime, the Court should order Manning's incarceration to

   coerce her into complying with its order.

                                               CONCLUSION

            For the foregoing reasons, the Court should hold Manning in civil contempt and order her

   incarceration until she purges herself or for the life ofthe grand jury.




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Case 1:19-dm-00012-AJT Document 22 Filed 06/14/19 Page 25 of 26 PageID# 1254




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Case 1:19-dm-00012-AJT Document 22 Filed 06/14/19 Page 26 of 26 PageID# 1255




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         I hercby ccrtily that on tl:c l5th day   ofMay,20l9, I causcd the lbregoing   docrn)rent to be

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